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 7
 8                              UNITED STATES DISTRICT COURT
 9                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
     ROBERT ALEXANDER KASEBERG,                        )   Case No.: 15-CV-01637-JLS-DHB
11                                                     )
                                                       )   Hon. Janis L. Sammartino
12                                                     )
                   Plaintiff,                          )   PLAINTIFF ROBERT ALEXANDER
13                                                     )   KASEBERG’S MEMORANDUM OF
                                                       )   POINTS AND AUTHORITIES IN
14         vs.                                         )   SUPPORT OF OPPOSITION TO
                                                       )   DEFENDANTS’ MOTION FOR
15                                                     )   SUMMARY JUDGMENT AND/OR
                                                       )   PARTIAL SUMMARY JUDGMENT
16
     CONACO, LLC; TURNER                               )   OR, IN THE ALTERNATIVE,
                                                       )   SUMMARY ADJUDICATION
17   BROADCASTING SYSTEM; TIME                         )
     WARNER, INC.; CONAN O’ BRIEN;                     )   [PUBLIC VERSION]
18
     JEFF ROSS; MIKE SWEENEY; and                      )
                                                       )   DATE:                  April 6, 2017
19   DOES 1-100, Inclusive,                            )   TIME:                  1:30 PM
                                                       )   COURTROOM:             4A
20                                                     )
                   Defendants.                         )
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                   AND/OR PARTIAL SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, SUMMARY ADJUDICATION
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                   AND/OR PARTIAL SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, SUMMARY ADJUDICATION
 1          Plaintiff ROBERT ALEXANDER KASEBERG (“Kaseberg”) respectfully submits
 2   this Memorandum of Points and Authorities in Opposition to Defendants’ Motion for
 3   Summary Judgment and/or Partial Summary Judgment or, in the Alternative, Summary
 4   Adjudication.
 5   I.     INTRODUCTION
 6          Plaintiff Robert Alexander Kaseberg (“Kaseberg”) has been a freelance writer and
 7   comedy writer for over 20 years. (PUF 130). He has written articles and/or jokes that have
 8   appeared in publications including "The Chicago Tribune", "The New York Times", "The
 9   Orlando Sentinel", "The Washington Post", "The Louisville Courier Journal", "The
10   Seattle Times", "The San Francisco Chronicle", "The Los Angeles Times", "Time"
11   magazine, "Sports Illustrated" and locally, "The San Diego Union Tribune" and "North
12   County Times" as well as radio. (PUF 131). Most notably, as a freelance comedy writer,
13   Kaseberg for over the last 20 years has worked with an independent production company
14   through which he has had over a thousand jokes used by Jay Leno. (PUF 132). For over
15   15 years, he has maintained a blog called http://thordoggie.blogspot.com/ where he has
16   been regularly posting jokes, commentary and other writings since February, 2002. (PUF
17   133). He has also been a member of twitter since March, 2009, where is also posts jokes
18   as well as other commentary. (PUF 133). He has tweeted over 13,000 times over that time
19   period, has over 2000 followers and follows over 2000 accounts. (PUF 133).
20   II.    STATEMENT OF FACTS
21          First, Kaseberg disputes many of Defendants’ facts including Conan’s creation
22   process. Those are listed in Plaintiff’s Separate Statement of Undisputed and Disputed
23   Facts filed herewith. (hereinafter "PUF")
24          On at least five occasions beginning in December 2014, Kaseberg wrote and
25   published jokes on his personal online blog, which later appeared on the “Conan” show
26   which had never happened before.
27                                                                            (PUF 72, 134). Kaseberg is
28   58 years old, is a fan of a number of comedians and late night hosts but is neither obsessed
                                                         1
      PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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 1   nor infatuated with Mr. O'Brien as Defendants attempt to suggest. (PUF 134). In all the
 2   years he has watched the Conan show he had never had a joke he posted on his blog or
 3   twitter appear on the Conan show. (PUF 135). That all changed in late 2014 and early
 4   2015.
 5           On December 2, 2014 at approximately 2:24 p.m., Kaseberg published the
 6   following literary work on his personal online blog: “The University of Alabama-
 7   Birmingham is shutting down its football program. To which the Oakland Raiders said;
 8   “Wait, so you can do that?”” (Joke #1) (PUF 136). The same joke later appeared on the
 9   “Conan” show monologue that aired on or about December 3, 2014. The joke from the
10   monologue was, “University of Alabama-Birmingham has decided to discontinue its
11   football team. Yeah. When they heard this news, New York jets' fans said wait, you can
12   do that?" (PUF 137). The joke was allegedly written by Brian Kiley. (PUF 56).
13
14                (UF 138, 139).
15           On or about January 14, 2015 at approximately 4:14 p.m., Kaseberg published the
16   following literary work on his personal online blog: “A Delta flight this week took off
17   from Cleveland to New York with just two passengers. And they fought over control of
18   the armrest the entire flight.” (“Joke #2) (PUF140). The same joke later appeared on the
19   “Conan” show monologue that aired on or about January 14, 2015. The joke from the
20   monologue was, “Yesterday, a Delta flight from Cleveland to New York took off with
21   just 2 passengers. Yet somehow, they spent the whole flight fighting over the armrest.”
22   (PUF 141). The joke was allegedly written by Josh Comers. (PUF 44).
23
24   (PUF 142, 143).
25           Kaseberg was suspicious of the initial coincidence and on January 16, 2105, on a
26   long shot, he sent a tweet to the head writer of the Conan show, Defendant Sweeney,
27   asking if he could possibly contribute jokes to the show. He was not angry and thought
28   it was worth a shot seeing if he could contribute to the show. (PUF 144). He received no
                                                        2
     PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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 1   response which was not a surprise to him.
 2                                 (PUF 145).
 3         On or about February 3, 2015 at approximately 9:02 a.m., Kaseberg published the
 4   following literary work on his personal online blog: “Tom Brady said he wants to give
 5   his MVP truck to the man who won the game for the Patriots. So enjoy that truck, Pete
 6   Carroll.” (“Joke #3) (PUF 146). This joke later appeared on the Conan show monologue
 7   that aired on or about February 4, 2015. The joke from the monologue was, “Tom Brady
 8   says he wants to give the truck he was given as the Super Bowl MVP to the guy that won
 9   the Super Bowl for the Patriots. So, Brady is giving that truck to Pete Carroll.” (PUF 147).
10   The joke was allegedly written by Brian Kiley. (PUF 63).
11                                                                            (PUF 148, 149).
12         Kaseberg was again suspicious and on February 6, 2015, on a long shot, he sent a
13   tweet to another writer on the Conan show, Andres de Bouchet. Again, he was not angry
14   and thought it was worth a shot seeing if he could contribute to the show. (PUF 150). He
15   received no response which again was not a surprise to him.
16                                                                                 . (PUF 151).
17
18                                                          . (PUF 151).
19         On or about February 17, 2015, at approximately 11:20 a.m., Kaseberg published
20   the following literary work on his personal blog: “The Washington Monument is ten
21   inches shorter than previously thought. You know the winter has been cold when a
22   monument suffers from shrinkage.” (“Joke #4”) (PUF 152). This joke later appeared on
23   the “Conan” show monologue that aired on or about February 17, 2015. The joke from
24   the monologue was, “Yesterday, surveyors announced that the Washington Monument is
25   ten inches shorter than what’s been recorded. Of course, the monument is blaming the
26   shrinkage on the cold weather.” (PUF 153). The joke was allegedly written by Brian
27   Kiley. (PUF 49).
28                   . (PUF 154, 155). Kaseberg reached out to Defendant Sweeney by phone
                                                        3
     PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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 1   on February 18, 2015, and surprisingly was able to reach him. The purpose of the call was
 2   not to cause trouble, but rather for Kaseberg to suggest that if he was writing jokes so
 3   similar to theirs, then maybe he should be contributing jokes to the show. (PUF 156).
 4   During the call, Sweeney angrily and loudly denied the jokes were of Kaseberg’s creation.
 5   (PUF 156). During the call, Kaseberg was ridiculed, dismissed, and treated with scorn.
 6   (PUF 156). Sweeney admitted that he had received Kaseberg's message, went on his blog
 7   and saw the jokes, but inexplicably denied that the jokes were even the same. (PUF 156).
 8           During the call, Kaseberg informed Defendant Sweeney that he had jokes appear
 9   on “The Tonight Show with Jay Leno” for over 20 years. (PUF 157). Kaseberg stated he
10   was seeking an opportunity to contribute jokes to the Conan show because the jokes
11   appeared to be a great example of shared sensibilities. (PUF 157). The call ended with no
12   resolution. (PUF 157). In fact, the next day, Kaseberg sent a tweet to Defendant Sweeney
13   saying he didn't mean to sound accusatory and only wanted an opportunity to contribute
14   jokes to the show. (PUF 158).
15
16                                      . (PUF 145, 151, 156).
17           On or about March 11, 2015, a letter was sent to Defendant Conaco, LLC, regarding
18   the jokes and letters were exchanged over a couple of months, with no resolution. (PUF
19   159).                                                                                      (PUF 160).
20
21
22                                       . (PUF 161).
23
24                                                                     . (PUF 162).
25                                                                             ".
26                                                                                                              .
27   Then, on June 9, 2015, at approximately 11:05 a.m., Kaseberg published the following
28   literary work on his personal blog: “Three towns, two in Texas, one in Tennessee, have
                                                        4
     PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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 1   streets named after Bruce Jenner and now they have to consider changing them to Caitlyn.
 2   And one will have to change from a Cul-de-Sac to a Cul-de-Sackless.” (“Joke #5”) (UF
 3   163). This joke later appeared on the “Conan” show monologue that aired on or about
 4   June 9, 2015. The joke from the monologue was, “Some cities that have streets named
 5   after Bruce Jenner are trying to change the street’s names to Caitlyn Jenner. And if you
 6   live in Bruce Jenner Cul-de-Sac, it will now be called a Cul-de-No-Sac.” (UF 164). The
 7   joke was allegedly written by Rob Kutner. (PUF 68).
 8
 9                   . (PUF 165, 166).
10          With 20 years of comedy writing experience, Kaseberg reached out politely first
11   on twitter twice to see if there was any way he could submit jokes to the show after
12   noticing the initial similarities. When he got no response he finally got a hold of
13   Defendant Sweeney and expected to have a civil conversation but instead was ridiculed,
14   yelled at and treated with scorn. (PUF 157). Formal correspondence took place between
15   Conaco, LLC which ensued for a couple of months. Thereafter, there is no dispute
16   Defendants knew who Kaseberg was and his concerns with the similarity of the jokes,
17   another of Kaseberg's jokes was on the show. Only after the last joke and way he was
18   treated did Kaseberg decide to file suit on July 22, 2015. (PUF 157).
19   III.   LEGAL STANDARD
20          The court must find there is “no genuine dispute as to any material fact and that the
21   movant is entitled to judgment as a matter of law,” to grant summary judgment. Fed. R.
22   Civ. P 56(a). Summary judgment is a drastic remedy and is therefore to be granted
23   cautiously: “Neither do we suggest that the trial courts should act other than with caution
24   in granting summary judgment . . .” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255
25   (1986). In opposing a motion for summary judgment, the opposing party must set forth
26   specific material facts showing a genuine dispute as to a material fact. See Fed. R. Civ. P.
27   56(a), (c)(1) (emphasis added). The reviewing court must view the evidence and
28
                                                        5
     PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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 1   inferences therefrom in the light most favorable to the nonmoving party. British Airways
 2   Bd. v. Boeing Co., 585 F. 2d 946, 951 n. 6 (9th Cir. 1978)
 3   IV.   ARGUMENT
 4         Kaseberg agrees with the standard that the Defendants copied protected elements
 5   of an original work and that copying can be established through direct copying or showing
 6   access and "substantial similarity". See Funky Films, Inc. v. Time Warner Entm't Co.,
 7   L.P., 462 F.3d 1072, 1076 (9th Cir. 2006)
 8
           A.      Kaseberg’s Jokes Were All Registered In Accordance With 17 U.S.C.
 9                 § 411
10         It is common for copyright infringement to occur as to an unregistered work. See
11   generally 2 Melville B. Nimmer & David Nimmer, Nimmer on Copyright § 7.16[B][3][a]
12   (Matthew Bender Rev. Ed.). When this occurs, the copyright owner may then register the
13   work and immediately seek judicial redress. Id. The statute specifically provides that “the
14   effective date of the copyright registration is the day on which an application, deposit,
15   and fee, which are later determined by the Register of Copyrights or by a court of
16   competent jurisdiction to be acceptable for registration, have all been received. Id. The
17   Ninth Circuit adopts the “application” approach in determining when a work of art has
18   been registered for purposes of an infringement action. Cosmetic Ideas, Inc. v.
19   IAC/Interactivecorp., 606 F. 3d 612 (9th Cir. 2010). Receipt by the Copyright Office of
20   a complete application satisfies the registration requirement of § 411(a). Id. at 621. It is
21   well established that so long as applications have been submitted the court has
22   jurisdiction, Kaseberg has standing and the case should proceed.
23         Here, Kaseberg submitted applications to the Copyright Office for all of the “Jokes
24   at Issue.” Three of the five jokes are currently registered. Two are currently pending. As
25   stated in Kaseberg’s First Amended Complaint at ¶26, applications are pending with the
26   U.S. Copyright Office. Prior to the First Amended Complaint being filed, on August 10,
27   2016, Kaseberg sent an application to the Copyright Office for “text, Text of blog and six
28   (6) jokes posted on December 2, 2014.” (PUF 52, 53). This application was for
                                                        6
     PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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 1   Kaseberg’s UAB joke. This application is currently pending. On September 3, 2015 and
 2   August 10, 2016, Kaseberg sent applications to the Copyright Office for " Single joke
 3   written and posted on Blog on February 3 regarding Tom Brady" and “text, Text of three
 4   (3) jokes posted on February 3, 2015 at 9:02 a.m.” (UF 60) This application was for
 5   Kaseberg’s Tom Brady Joke. These applications are currently pending.                           Because
 6   Kaseberg has received registrations and has filed applications for the remaining jokes
 7   (UAB and Tom Brady), he has “registered” his works in accordance with the Copyright
 8   Act and has standing.
 9         B.      An Issue Of Material Fact Exists As To Copyright Infringement
10
                   1.      Kaseberg Need Not Present Evidence of Direct Copying
11
12         As Nimmer on Copyright discusses:
13         ... it is virtually impossible to offer direct proof of copying, so it is often
14         impossible for a plaintiff to offer direct evidence that defendant (or the person
           who composed defendant's work) actually viewed or had knowledge of
15
           plaintiff's work. Such viewing will ordinarily have occurred, if at all, in a
16         private office or home outside the presence of any witnesses available to the
           plaintiff. For this reason, it is clear that even if evidence is unavailable to
17
           demonstrate actual viewing, proof that the defendant had an opportunity to
18         view (when combined with probative similarity) is sufficient to permit the
19         trier to conclude that copying as factual matter has occurred -- in other words,
           the factfinder has discretion to reject even the uncontradicted testimony of the
20         writer of defendant's work that he had never in fact viewed plaintiff's work.
21         But this result is often reached through the court's reasoning that the
           opportunity to view creates an inference of access, which in turn creates an
22         inference of copying. 4 Nimmer, supra, at §13.02[A], 13-16.
23                 2.      Kaseberg Can Establish Access
24
                           a.     An Issue Of Material Fact Exists As To The Delta And
25
                                  Washington Monument Jokes
26         Defendants contend that Kaseberg cannot prove the element of access to two of the
27   five “jokes at issue” because the Defendants purportedly created the jokes prior to
28   Kaseberg. However, the taping for the Conan show starts at 4:30 p.m. (PUF 33). Kaseberg
                                                        7
     PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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 1   published his Delta Airlines joke at 4:14 p.m., before the taping began. (PUF 91).
 2
 3                                                          . (PUF 33, 34, 167).
 4
 5
 6            . (PUF 167).
 7         Defendants claim to have written Joke #2 first, but there exists a triable issue of
 8   fact as to this issue. Kaseberg wrote his Joke #2 after watching the Conan show publish
 9   another Delta airlines joke the previous day. (PUF 168). The Conan joke was, "Yesterday,
10   a Delta flight from Cleveland to New York took off with just two passengers on the whole
11   flight two passengers. And get this, they lost their luggage."(PUF 168). Kaseberg had
12   watched the show and thought it was great joke and wanted to try and write a different
13   but equally good joke. (PUF 168). After Kaseberg wrote Joke #2 on his blog, the Conan
14   show ended up using Joke #2 notwithstanding that the show had already aired an already
15   good joke the day before. Kaseberg had watched Conan for some time and had never seen
16   Conan use premises like that on back to back days, which caused his initial suspicion
17   when he heard the joke he wrote aired. (PUF 168).
18         Further, after conducting discovery, Defendants produced two emails that
19   purportedly shows Comers wrote the joke at 11:33 a.m., before Kaseberg. However, time
20   stamps for the e-mails do not match. One email reveals Comers wrote his email at 11.33
21   a.m. and another reveals 11:32 a.m. (PUF 44, 191). Additionally, in the two emails, the
22   11:33 a.m. email lists another joke submitted after Joke #2 as, "She's fine, but an Ohio
23   State cheerleader was nearly trampled by the football team as they left the field. Someone
24   noticed her when the cheerleader said, "Give me an E, give me an M ... give me a T!".
25   However, in the 11:32 a.m. email, the joke after Joke #2 reads, " She's fine, but an Ohio
26   State cheerleader was nearly trampled by the football team as they left the field. Someone
27   noticed her when". The last portion of the joke was cutoff for no apparent reason. (PUF
28   44, 191). The two documents that allegedly prove Comers wrote and submitted the jokes
                                                        8
     PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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 1   contradict themselves and raise a triable issue of fact.
 2
 3
 4
 5                  ” (PUF 22, 44). All of these alleged "coincidences" do not add up and there
 6   exists a triable issue of fact as to whether Defendants did in fact write Joke #2 first.
 7         With respect to the Joke #3, Defendants claim that Kaseberg first published his joke
 8   on February 17, 2015, but the Defendants aired a joke about the Washington Monument,
 9   which had the same concept and punchline as Kaseberg’s joke, over a year before. An
10   issue of material fact exists as to whether the video aired by Defendants is the same joke
11   as Kaseberg’s. First, Defendants’ joke was a video. In the video, O’ Brien states, “The
12   east coast is starting to warm up, that’s the good news, but it got very cold there for a
13   while, especially in Washington DC. Record low temperatures. Check out this time lapse
14   footage of the cold front hitting the Washington Monument. Incredible.” After O’Brien
15   speaks, a time lapse video shows the Washington Monument shrinking over a period of
16   time in cold weather. (PUF 51). Defendants’ joke was a video clip. Notwithstanding the
17   fact that the jokes are different in form, the jokes are still different because Kaseberg’s
18   joke is based on a news article reporting that the Washington Monument is shorter than
19   previously thought. Defendants’ joke is based on the general assertion that it had been
20   cold for quite some time in Washington DC. The setups for the jokes are different because
21   there is no reference to the surveyor report or 10 inches shorter in Defendants joke. There
22   is a triable issue as to whether Conan's team independently created the combination of the
23   surveyor's report combined with the cold weather and shrinkage or was it taken from
24   Kaseberg. Defendants video joke was only a shrinkage reference with cold weather. The
25   pattern of five jokes creates a triable issue as well.
26                 b.      Kaseberg Can Establish a Triable Issue of Fact as to Access
27         To prove access, plaintiff must show that the defendants had a “reasonable
28   opportunity or “reasonable possibility” of viewing plaintiff’s work prior to the creation
                                                        9
     PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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 1   of the infringing work. Three Boys Music Corp. v. Bolton, 212 F. 3d 477, 482 (9th Cir.
 2   2000); Baxter v. MCA, Inc., 812 F. 2d 421, 423 (9th Cir. 1987). Reasonable access is
 3   shown in one of two ways: (1) a particular chain of events is established between the
 4   plaintiff’s work and the defendant’s access to the work (such as through dealings with a
 5   publisher or record company), or (2) the plaintiff’s work has been widely disseminated.
 6   Three Boys Music Corp., 212 F. 3d at 482. However, there is also "strikingly similar"
 7   standard which cannot be ignored.
 8                         i.     Strikingly Similar
 9         This Court need not even have to analyze the two prongs of access listed above
10   because it is well settled that the “strikingly similar” doctrine applies in the Ninth Circuit.
11   Specifically, in the absence of any proof of access, a copyright plaintiff can make out a
12   case of infringement by showing that the works were “strikingly similar.” Id. at 485
13   (internal citations omitted)). This case is cited by Defendants in their own moving papers
14   which they neglected to mention. “What is required is that the similarities in question be
15   so striking as to preclude the possibility that the defendant independently arrived at the
16   same result. In other words, as a matter of logic, the only explanation for the similarities
17   between the two works must be copying rather than... coincidence, independent creation,
18   or prior common source.” 4 Nimmer, at § 13.02[B] (citing Bernal v. Paradigm Talent &
19   Lit. Agency, 788 F. Supp. 2d 1043, 1052 (C.D. Cal. 2010)). Here we have 5 of the same
20   jokes in a six-month period when it never happened before.
21         Here, there exists an issue of material fact as to whether Kaseberg’s and
22   Defendants’ jokes are so “strikingly similar” as to presume access.
23
24                                                                      . (PUF 138, 139, 142, 143, 148,
25   149, 154, 155, 165, 166).
26
27
28
                                                        10
     PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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 1
 2
 3           Kaseberg’s jokes also do not qualify as “coincidence, independent creation, or prior
 4   common source.” The striking similarity and the number and timing relating to when
 5   Kaseberg published his jokes precludes the possibility that the Defendants independently
 6   arrived at the same result. Defendants have offered a limited sample size of allegedly
 7   similar jokes by others. (SUF 114-121). Kaseberg has objected to the admissibility of
 8   these alleged similar jokes.        However, if these similar occurrences are found to be
 9   admissible, how many of the others came up with 2 of the 5 jokes, 3 of the 5 jokes or all
10   of the 5 jokes? The answer is none. If Kaseberg's jokes were so commonplace, why is that
11   out of the entire online universe, Kaseberg was the only person who came up with all five
12   same jokes as Defendant?
13
14                                 ii.    Chain of Events
15           Additionally, an issue of material fact also exists as to whether there was a “chain
16   of events” showing access. Kaseberg's blog is maintained through blogger.com. (PUF
17   133).
18                                             . (PUF 171).
19
20                                                     (PUF 172). Kiley allegedly wrote Joke #1, #3
21   and #4.
22                . (PUF 35). Well before the lawsuit being filed, Kaseberg followed, Comers,
23   Kiley, O'Brien as well as other writers on the Conan staff. (PUF 93, 192). When someone
24   is followed on twitter, an email notification is sent to the account holder of the person
25   following them. Additionally, the person who is being followed has a link in their profile
26   page or home page that will show how many followers they have and who they are. (PUF
27   93, 192). All of the writers in this case received a notification Kaseberg was following
28   them well before the lawsuit, and the writers easily could have accessed Kaseberg's twitter
                                                        11
     PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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 1   and blog simply going to their “followers” link on their homepage. Kaseberg maintains
 2   a twitter account which he has had since March, 2009. On his twitter page, contains a
 3   link to his blog http://thordoggie.blogspot.com/. (PUF 133)
 4
 5             (PUF 174). Kaseberg's and Comers’ twitter accounts appear together on a public
 6   twitter list called "funny" created by an "RB Anthony". The description of the list states
 7   "They make me laugh - usually :-)" (PUF 175). Kaseberg's and Kutner's twitter accounts
 8   appear together on a public twitter list called "humor" created by an "Smack of Ham".
 9   (PUF 176). Kaseberg's, Kutner's and Comers' twitter accounts appear together on a public
10   twitter list called " My favstar.fm list" created by an " Wynne McLaughlin". The
11   description of the list states " My favorite tweeters, curated with help from
12   http://favstar.fm" (PUF177).
13          A list is a curated group of Twitter accounts users create. (PUF 178). When a
14   twitter account holder is added on a public list, the account holder receives a notification
15   that they have been added to the list and have the ability to click on the list. (PUF 178).
16   Josh Comers and Rob Kutner would have received a notification that were added to a list
17   and would have the opportunity to view the list which Kaseberg was also added to by
18   going to their list tab and click "Member of". (PUF 178)
19
20      . (PUF 179).
21   (PUF 180) Kaseberg recalls Comers following him on twitter at some point in the past.
22   (PUF 181). Rick G. Rosner (@dumbassgenius), Elayne Boosler (@ElayneBoosler) and
23   Keith Powell (@KeithPowell) all follow Kaseberg and Kutner on Twitter. Kutner also
24   follows Rosner, Boosler and Powell. Thus, they share a common connections on twitter.
25   If either Rosner, Boosler or Powell, re-tweeted any of Kaseberg's tweets, Kaseberg would
26   have shown up on Kutner's home timeline. (PUF 182). Thus, even if Kunter is not
27   following Kaseberg, if Rosner, Boosler, or Powell "like" any of Kaseberg's tweets, those
28   could also show up on Kutner's home timeline based on twitter’s algorithm. (PUF 186).
                                                        12
     PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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 1   Rosner was a writer for Jimmy Kimmel Live!, a contestant on Who Wants to Be a
 2   Millionaire, and has been called "The World's Second-Smartest Man".                       Boosler is a
 3   comedian, writer and actress who has been on The Jimmy Fallon Show, David Letterman,
 4   The Cosby Show, Night Court, Hollywood Squares, Celebrity Jeopardy. Powell is an
 5   actor and writer who has been on 30 Rock, NCIS Los Angeles, About a Boy as well as a
 6   number of other shows. (PUF 183). Jocelyn Plums (@FilthyRichmond) and Wendy
 7   Liebman (@wendyliebman) follow Comers and Kaseberg. Comers follows them as well.
 8   (PUF 184). Thus, they share a common connection on twitter. If either Plums or Liebman
 9   re-tweet any of Kaseberg's tweets, Kaseberg would have shown up on Comers’ home
10   timeline. Even if Comers is not following Kaseberg, if Plums or Liebman "like" any of
11   Kaseberg's tweets those could also show up on Comers home timeline based on twitters
12   algorithm. (PUF 186). Jocelyn Plums is a twitter account with national notoriety. Wendy
13   Liebman is an actress, writer and comedian who has appeared on Carson, Letterman,
14   Leno, Fallon, Kimmel, Ferguson and Hollywood Squares. (PUF 185). Rick Rosner,
15   Jocelyn Plums, and Wendy Liebman have all either liked or re-tweeted Kaseberg's tweets
16   in the past. (PUF 187).
17         Clearly, a material issue of fact exists as to whether the writers had a reasonable
18   possibility to access Kaseberg’s jokes. A reasonable juror could find that the chain of
19   events started when Comers and Kaseberg were both blogging,
20                , when Kaseberg followed the writers on twitter, when a common twitter user
21   liked or re-tweeted Kaseberg’s tweet, when the writers received a notification that
22   Kaseberg was following them, or when Kaseberg contacted some of the individually
23   named Defendants on Twitter regarding the jokes at issue.
24                                iii.    Widely Disseminated
25         An issue of material fact also exists as to whether Kaseberg’s work is “widely
26   disseminated.” The Ninth Circuit has held that the local sale of more than 50,000 yards
27   of fabric to convertors over a four-year period sufficed to create a reasonable possibility
28
                                                        13
     PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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 1   to view the design on the fabric. Id. (citing L.A. Printex Indus., Inc. v. Aeropostale, Inc.,
 2   676 F. 3d 841 (9th Cir. 2012)).
 3         Kaseberg has maintained an online blog for over 15 years where he posts jokes.
 4   (PUF 133). He has posted 5383 blog posts since February 2012. (PUF 169). Since 2012
 5   has had over 345,000 page views to his blog and has averaged between 3000 to 4000 page
 6   views per month. (PUF 170). Since July 2010, 12141 viewers accessed Kaseberg's blog
 7   through a link from www.google.com. In that same time period, 12120 accessed
 8   Kaseberg's blog through a link from halife.com/daily/laughs.html. halife.com was a
 9   website involving comedy that is no longer in existence but a site which had links to
10   Kaseberg's blog. Josh Comers was active on the site halife.com. (PUF 173). Both
11   Kaseberg's twitter page and blog are open to the public and anyone can access the pages
12   with an internet connection. (PUF 133). Kaseberg has tweeted approximately 13,500
13   times and he currently has over 2000 accounts following him and follows approximately
14   2000 accounts. (PUF 133). Kaseberg follows and has followers who are also comedians
15   and comedy writers. (PUF 133). Common followers of Kaseberg, Comers, and Kutner
16   have liked or re-tweeted Kaseberg's tweets. (PUF 187). Kaseberg has been published
17   nationally in newspapers and magazines. (PUF 131)
18         Additionally, missing entirely from Defendants’ brief is any discussion regarding
19   the power of social media, especially twitter. Defendants’ brief focuses on the fact that
20   Kaseberg allegedly only received a handful of likes for all of the jokes at issue, as well as
21   the fact that Kaseberg’s jokes were rarely retweeted. Kaseberg's expert stated in her
22   deposition that she has a twitter account and that even if you have 3 followers or 5 re-
23   tweets 500 to 1,000,000 could have seen your tweet because you can't control who re-
24   tweets or sees your material. (PUF 190). A reasonable juror could find that likes and
25   retweets do not define the standard for a work being “widely disseminated.” This Court
26   should consider account for the fact that social media is a broad and overlapping platform
27   which allows for individuals to become interconnected at the touch of a button or click of
28   a mouse.
                                                        14
     PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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 1             Kaseberg’s material was entirely accessible through twitter and his blog. In
 2   essence, Kaseberg and Defendants were all within the same twitter/online universe.
 3   Kaseberg’s burden is merely to show that any one of them had a reasonable opportunity
 4   to access Kaseberg’s materials. Comers and Kutner both followed people who followed
 5   Kaseberg. (PUF 182, 184). Those common followers liked or re-tweeted Kaseberg. (PUF
 6   187). There is no dispute Kaseberg showed up on Comers and/or Kutner's homepage
 7   timeline. (PUF 186).
 8          The burden has been met and a triable issue of fact exists as to access. A
 9   reasonable juror could find that Kaseberg’s works were widely disseminated and that
10   there is a reasonable possibility that his material was shared and accessed by the writers
11
                   3.      An Issue Of Material Fact Exists As To Whether The Jokes Are
12                         Substantially Similar
13          Substantially similariry, in the Ninth Circuit applies a two-part test consisting of
14   extrinsic and intrinsic components. Rice v. Fox Broadcasting Co., 330 F. 3d 1170, 1174
15   (9th Cir. 2002). The extrinsic test involves an objective comparison of the two works. Id.
16   The Court must consider “whether the works share a similarity of ideas and expression as
17   measured by external, objective criteria.” Swirsky v. Carey, 376 F. 3d 841, 845 (9th Cir.
18   2004). For summary judgment, only the extrinsic test is important. Kouf v. Walt Disney
19   Pictures & Television, 16 F. 3d 1042, 1045 (9th Cir. 1994). Because the intrinsic test relies
20   on the subjective judgment of the ordinary person, it must be left to the jury. Swirsky, 376
21   F. 3d, at 845, So long as the plaintiff can demonstrate, through expert testimony that
22   addresses some or all of the ... elements and supports its employment of them, that the
23   similarity was “substantial” and to “protected elements” of the copyrighted work, the
24   extrinsic test is satisfied.” Id. at 849.
25          Granting summary judgment on the issue of substantial similarity is highly
26   disfavored. Narrell v. Freeman, 872 F.2d 907, 909-10 (9th Cir. 1989). Where reasonable
27   minds could differ on the issue of substantial similarity... summary judgment is improper.
28   Twentieth Century-Fox Film Corp. v. MCA, Inc. 715 F.2d 1327, 1329-30 (9th Cir.1983).
                                                        15
     PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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 1   Granting summary judgment for defendant is appropriate where works are so dissimilar
 2   that a claim of infringement is without merit. Id. (citing Rose v. Connelly, 38 F. Supp. 52,
 3   55-56 (S.D.N.Y. 1941)). More particularly, when the issue is whether two works are
 4   substantially similar, summary judgment is appropriate if “no reasonable juror could find
 5   substantial similarity of ideas and expression,” viewing the evidence in the light most
 6   favorable to the nonmoving party. Shaw v. Lindheim, 919 F. 2d 1353, 1355 (9th Cir.
 7   1990).
 8                         a.     Substantial Similarity Exists at the Extrinsic Stage
 9         Again, at summary judgment, only the extrinsic test is important. Kouf v. Walt
10   Disney Pictures & Television, 16 F. 3d 1042, 1045 (9th Cir. 1994). The extrinsic test is an
11   objective one that focuses on "articulable similarities between the plot, themes, dialogue,
12   mood, setting, pace, characters, and sequence of events." Id. at 1045 (9th Cir. 1994) On
13   their face one would be hard pressed to deny that all of the jokes "share a similarity of
14   ideas and expression."
15                   PUF 138, 139, 142, 143, 148, 149, 154, 155, 165, 166)
16
17                                                                           So long as the plaintiff can
18   demonstrate, through expert testimony that addresses some or all of the ... elements and
19   supports its employment of them, that the similarity was “substantial” and to “protected
20   elements” of the copyrighted work, the extrinsic test is satisfied.” Swirsky, 376 F. 3d, at
21   849. Kaseberg has done so there is no further need for additional analysis under the law.
22         However, if the Court finds the need to go through the analysis, there is a triable
23   issue of fact that the plot, theme, dialogue, mood, setting, characters, and sequence of
24   events are all the same. In Joke #1, the joke involves the same UAB Football team
25   discontinuing its football program and a professional sports team asking if you can do
26   that. In Joke #2, the joke involves the same two passengers on an otherwise empty plane
27   and the same two passengers then deciding to sit next two each other even though there
28   were plenty of seats, and fighting over an armrest. In Joke #3, the joke involves Tom
                                                        16
     PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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 1   Brady deciding to give his truck away that he won as Super Bowl MVP, and the same
 2   decision to give it to the coach of the opposing team, Pete Carroll. In Joke #4, the joke
 3   involves the same study that the Washington Monument is shorter than reported and the
 4   same Washington Monument shrinking as a result of cold weather (a male genitalia joke).
 5   In Joke #5, the joke involves cities considering changing street names named after Bruce
 6   Jenner to Caitlyn Jenner and then one city actually deciding to change the name from a
 7   cul-de-sac to removing the sac. All the jokes have the same specific plot, same theme,
 8   same mood, same setting, same pace, same characters and same sequence of events. The
 9   works are all similar, the same, and/or identical. Clearly the extrinsic test has been
10   satisfied.
11
                           b.     Defendants Have Misconstrued the Extrinsic Test as Applied
12                                to the Instant Case
13          Defendants have attempted to cut and paste single lines out of numerous cases to
14   create a patchwork argument that there should be a finding of no similarity or protection.
15   The cases Defendants have cited do not directly deal with jokes. Apple Computer was a
16   software copyright case, Shaw involved a television pilot script, Rice involved the
17   copyright to a magician type character who appeared in a television series, and Dr. Suess
18   involved mainly the copyright to "The Cat in the Hat" and a book "The Cat NOT in the
19   Hat!" The analyses in those cases do not directly apply to the facts of the instant case.
20   What can be gathered through the case law is that the extrinsic test for substantial
21   similarity at least at it relates to literary works is an objective measure of the "articulable
22   similarities between the plot, theme, dialogue, mood, setting, pace, characters and
23   sequence of events." Rice, 330 F. 3d at 1174. This has been discussed above and cannot
24   be denied.
25          Sorting through all of Defendants citations and purported analysis, Defendants
26   argument is simple. They conveniently argue the jokes should be dissected so no
27   protection is found. Since the premise of each joke is based on a current event or fact
28   there should be no copyright protection to the first portion of the joke. They then go on
                                                        17
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 1   to argue that the punchlines "rely exclusively on idea" and is not an expression, thus the
 2   punchlines are unprotectable elements. They continue by arguing that if the Court finds
 3   the punchlines are expressive elements, the punchlines are "ordinary phrases" that are not
 4   entitled to copyright protection either. Essentially Defendants argue there should be no
 5   copyright protections whatsoever in these types of jokes because neither the premise or
 6   punchline is protectable through dissection.
 7         Defendants argument defies the very basic notion of the protection of copyrightable
 8   expression. What is amazing is that Defendant Conaco, LLC employs a team of four
 9   writers to search for stories, facts or other events each day and to come up with creative,
10   unique and humorous jokes based on those events. One has to assume the writers make
11   a very good living off the work they do, yet what Defendants are suggesting is there
12   should be no copyright protection in their works either. If what Defendant is advancing
13   is true, anyone can intentionally go online copy a monologue joke and change a few words
14   here and there and it would be completely lawful because there is nothing protectable
15   about the premise or punchline. Why have a writing team?
16                                     (PUF 138)
17
                                  i.      Kaseberg’s Works Must be Viewed as Whole, are
18                                        Fiction and are Entitled to Protection
19         Kaseberg is not claiming copyright over the setup or facts/news events that start
20   the joke. Nor is he claiming copyright on the punchline by itself. The Jokes Kaseberg
21   created have no meaning without the other. What he is claiming copyright on is his idea
22   that has been expressed in a written medium which was to select and write certain news
23   events and combine that news event with a fictional, creative, unique and humorous take.
24   The fact is, the punchlines are all pure fiction and when combined with the premise, none
25   of what Kaseberg wrote actually took place, which is an entirely new work. In Joke #1,
26   a professional sports team did not say "wait can you do that?" after hearing the UAB
27   news. In Joke #2, the two passengers never sat next to each other and never fought over
28   the armrest. In Joke #3, Tom Brady never gave his Super Bowl truck to Pete Carroll. In
                                                        18
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 1   Joke #4, the Washington Monument did not lose 10 inches because of the cold weather.
 2   And finally in Joke #5, there is no such thing as a street named cul-de-sac and no street
 3   names were changed to remove the "sac".
 4          Kaseberg's position that the combination of ideas that are expressed are protectable
 5   is well established in the 9th Circuit. See Metcalf v. Bochco, 294 F.3d 1069 (9th Cir.
 6   2002). The Metcalf court held that the combination of unprotectable elements are entitled
 7   to protection and meet the extrinsic test. Id. at 1074. The plaintiff in Metcalf correctly
 8   argued that copyright law protects a writer's expression of ideas, but not the ideas
 9   themselves. Id. at 1074 (citing Kouf, 16 F.3d at 1045). "General plot ideas are not
10   protected by copyright law; they remain forever the common property of artistic
11   mankind." Id. (citing Berkic v. Crichton, 761 F.2d 1289, 1293 (9th Cir.1985)). Nor does
12   copyright law protect "scenes a faire," or scenes that flow naturally from unprotectable
13   basic plot premises. Id. (citing See v. Durang, 711 F.2d 141, 143 (9th Cir.1983)). Instead,
14   protectable expression includes the specific details of an author's rendering of ideas, or
15   "the actual concrete elements that make up the total sequence of events and the
16   relationships between the major characters." Id. (citing Berkic, 761 F.2d at 1293.)
17           In Metcalf, the Ninth Circuit acknowledged that the similarities were not
18   protectable when considered individually. However, the presence of so generic
19   similarities and the common patterns in which they arise do help the Plaintiff satisfy the
20   extrinsic test.” Id. The particular sequence in which an author strings unprotectable
21   elements can itself be a protectable element. Id. Each note in a scale, for example, is not
22   protectable, but a pattern of notes in a tune may earn copyright protection. A common
23   "pattern [that] is sufficiently concrete ... warrant[s] a finding of substantial similarity." Id.
24   (citing Shaw, 919 F.2d at 1363.)
25          This is exactly Kaseberg's position in the instant case. The protectable element is
26   not the pieces, but the joke as a whole. Metcalf held that neither "Apple Computer, Inc.
27   v. Microsoft Corp... nor Cavalier v. Random House, Inc... hold otherwise; nor could they,
28   as Shaw was the law of the circuit when they were decided. In Apple Computer, we held
                                                        19
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 1   that the basic ideas of a desktop metaphor in a computer's operating system—windows
 2   on the computer screen, icons representing familiar office objects, drop-down menus and
 3   objects that open and close—were not individually protectable.... However, consistent
 4   with Shaw, we also held that infringement can "be based on original selection and
 5   arrangement of unprotected elements." Id.
 6          Under Metcalf, Kaseberg's works are protectable and should and not be dissected
 7   to find no protectable expression. If poetry is protectable, which it is, surely jokes should
 8   be as well.
 9
                           c.     The Intrinsic Test For Substantially Similar Or Virtually
10                                Identical Is One For The Jury
11          The "standard for infringement-substantially similar or virtually identical-
12   determined at the “extrinsic” stage is applied at the “intrinsic” stage. There we ask, most
13   often of juries, whether an ordinary reasonable observer would consider the copyrighted
14   and challenged works substantially similar (or virtually identical).” Mattel, Inc. v. MGA
15   Entertainment, Inc. 616 F. 3d 904, 914 (9th Cir. 2010) (citing Apple Computer, 35 F. 3d
16   at 1443) (emphasis added).
17          Now that the extrinsic test has been satisfied, the Court must determine which of
18   the substantially similar or virtually identical tests will be applied at the intrinsic stage for
19   the jury. Kaseberg is aware of no case law, cited by Defendants, ruling that virtually
20   identical is applied at the extrinsic stage. The prevailing Ninth Circuit cases which have
21   been discusdded decided on summary judgment have been under an extrinsic similarity
22   test leaving the intrinsic substantially similar or virtually identical standard to the jury. To
23   reiterate, Defendants argument is that Kaseberg’s works are not entitled to protection
24   because the premise and the punchline by themselves are not entitled to protection. The
25   Metcalf case has already dismissed this notion holding that the combination of
26   unprotectable elements are entitled to protection and that is precisely what Kaseberg is
27   advancing. There is no dispute that creative works often draw from facts or things in the
28   public domain. However, if a Plaintiff has modified a work that is in the public and the
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     PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
                   AND/OR PARTIAL SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, SUMMARY ADJUDICATION
 1   defendant copies the work, liability may ensue. Tufenkien Import/Export Ventures, Inc.
 2   v. Einstein Moomjy, Inc., 338 F.3d 127, 136 (2nd Cir. 2003).
 3         The only real authority Defendants have cited on when and how a virtually identical
 4   standard should be applied is Mattel, Inc. In Mattel, Inc. the court wrote, "If there's a
 5   wide range of expression (for example, there are gazillions of ways to make an aliens-
 6   attack movie), then copyright protection is “broad” and a work will infringe if it's
 7   “substantially similar” to the copyrighted work. If there's only a narrow range of
 8   expression (for example, there are only so many ways to paint a red bouncy ball on blank
 9   canvas), then copyright protection is “thin” and a work must be “virtually identical” to
10   infringe.” See Mattel, Inc., 616 F. 3d at 913-914 (9th Cir. 2010) (internal citations
11   omitted)). This proposition has been referred to as the merger doctrine. When applying
12   the merger doctrine, the Ninth Circuit has focused its attention on pictorial, graphic, and
13   sculptural works. It has particularly found that there are only so many ways depict a
14   jellyfish in a glass container, or to depict an image of a Skyy vodka bottle. See generally
15   Satava v. Lowry, 323 F. 3d 805, 812 (9th Cir. 2003); Ets-Hokin v. Skyy Spirits, Inc., 323
16   F. 3d 763, 766 (9th Cir. 2003).
17         Kaseberg’s jokes do not follow the same pattern as these pictorial, graphic, and
18   sculptural works. If an audience knew exactly what was going to be said after a particular
19   set-up or premise, there would be nothing funny about the jokes. Kaseberg’s expert will
20   opine, "after reviewing the jokes at issue and the premises for each of the jokes, it is my
21   opinion that for each of the premises, there are numerous and different ways to write
22   punch lines for each of the jokes at issue. None of the premises for the jokes in this case
23   would result in only a limited number of ways to write a humorous punch line based on
24   the premises." (PUF 189). Supporting this opinion is the fact that Kaseberg was able to
25   come up with a different joke than Defendants’ with respect to the Delta premise. The
26   day before Kaseberg’s Delta joke was published, Defendants aired a joke based on that
27   premise with the punchline claiming that the passengers still lost their luggage. (PUF 168)
28
                                                        21
     PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
                   AND/OR PARTIAL SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, SUMMARY ADJUDICATION
 1         As far as the thin argument, Defendants have conceded that the premises
 2   incorporated into Kaseberg’s jokes are part of Kaseberg’s “protected material” based on
 3   the fact that Defendants made the effort to painstakingly compare the words of premises
 4   for the “jokes at issue” in their brief (Defendant SJM at pg 15-20). Indeed, Defendants
 5   did not limit their comparison to solely the punchlines of the jokes. However, Defendants
 6   nonetheless ask this Court to apply a “virtually identical” standard to the jokes at issue in
 7   part because the premises are based on news stories, and essentially are facts.
 8
 9                                                                                                        No
10   plagiarist can excuse the wrong by showing how much of his work he did not pirate. See
11   Shaw, 919 F. 2d at 1362. “If substantial similarity is found, the defendant will not be
12   immunized from liability by reason of the addition in his work of different characters or
13   additional and varied incidents, nor generally by reason of his work proving more
14   attractive or saleable than the plaintiff’s.” 4 Nimmer at § 13.03[B][1][a] (citations
15   omitted).
16         The Defendants are quick to point out that the Defendants’ jokes as aired on the
17   Conan show have subtle differences to Kaseberg’s jokes. However, the fact that
18   Defendants have ad-libbed words in Defendant O’Brien’s presentation of the jokes on the
19   show are immaterial.
20                                                                                   (PUF 42, 47, 54, 61,
21   66). Conan later ad-libbed them on the show.
22
23   (PUF 138, 142, 148, 154, 165). These submissions should also be considered in the
24   Court’s analysis. In conclusion, any and all evidence from Defendants’ brief discussing
25   the purported additions which Defendant O’Brien makes to the jokes do not change the
26   fact that the jokes are the same.
27         Kaseberg’s original expression is combining what he found to be factual events and
28   creating a new expression in the form of a fictional event that never happened, to create
                                                        22
     PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
                   AND/OR PARTIAL SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, SUMMARY ADJUDICATION
 1   a humorous joke. There are numerous ways to write a joke of each of the premises as
 2   Kaseberg's expert has opined. The virtual identical standard should not apply in the
 3   instant case under the standard set forth in Mattel, Inc. Further, if the Court finds that
 4   virtually identical is the standard, that test is applied at the intrinsic stage which is reserved
 5   for the jury. It would be error for the district judge to engage in intrinsic analysis on a
 6   motion for summary judgment. Amini Innovation Corp. v. Anthony Cal., Inc., 439 F.3d
 7   1365, 1370. (Fed. Cir. 2006).
 8          C.     Independent Creation Is An Issue For The Jury
 9          Defendants cite one case for the proposition that this Court can decide the issue of
10   independent creation at the summary judgment stage. However, that case was not decided
11   on summary judgment. See Granite Music Corporation v. United Artists Corporation,
12   532 F. 2d 718 (9th Cir. 1976). In fact, it would appear that courts should caution against
13   deciding the issue of independent creation at summary judgment. Nimmer states, “No
14   matter how credible such a claim is, and even absent any contrary evidence, a court should
15   not grant summary judgment on that (independent creation) basis.” 3 Nimmer, at §
16   12.10[B][2][b]. Nimmer goes on to state, “without necessarily ascribing willful perjury
17   to defendants, if a plaintiff shows access plus probative similarity, and the only evidence
18   of independent creation is the self-interested testimony of those on the defense side, then
19   summary judgment for defendant is inappropriate.” 3 Nimmer, at § 12.11[D][1] at fn.
20   99.5. A recent Central District of California case has adopted Nimmer’s position in
21   holding that “to avoid making an inappropriate credibility determination at summary
22   judgment, and in accordance with . . . Nimmer, the Court declines to grant summary
23   judgment for the defendants based on evidence of independent creation.” Miller v.
24   Miramax Film Corp., 2001 U.S. Dist. LEXIS 25967, at *31-32 (C.D. Cal. 2001).
25           To the extent that Defendants’ argument is based on the contention that they nor
26   and Conaco writers have never visited Kaseberg’s website or Twitter page, and that they
27   did not copy his jokes, this information qualifies as “self-interested testimony,” permitting
28   this Court to deny summary judgment on these grounds entirely.
                                                        23
     PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
                   AND/OR PARTIAL SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, SUMMARY ADJUDICATION
 1          To the extent that Defendants’ argument is based on the contention that they created
 2   some of their works prior to Kaseberg creating his, this is also “self-interested testimony”
 3   and Kaseberg submits that there is a triable issue of fact as to this issue as already
 4   discussed above. To the extent that Defendants’ argument is based on the contention that
 5   “parallel thought” exists in the joke writing industry, Kaseberg submits that there is also
 6   a triable issue of fact as to this issue. Kaseberg’s probability expert has already prepared
 7   a report on the improbability of independent creation. (PUF 188). He states:
 8
            The clustering of the four "overlapped" jokes published by the Plaintiff in a
 9          relatively short period time surrounded by stretches where there are no
10          "overlapped" jokes makes their having been independently conceived by the
            writers for Conan such a probabilistically unlikely event; I estimate the
11          probability of there having been no more than one "overlapped" joke in the
12          combined 41 preceding and 41 following (which is the case) to be on the order
            of 1/3 of 1%. Even after taking into account the existence of one more
13
            "overlapped" joke half a year later, it still is unlikely that the writers were
14          independently developing the same jokes as the Plaintiff; if the jokes had been
            written independently, the estimated probability of seeing no "overlapped"
15
            jokes in the period May 7, 2014 through November 20, 2014 (which is the
16          case) is still less than 3/4% of 1%.
17          With respect to the alleged similar posts, none of the posts are from people who
18   allegedly posted other similar jokes. (PUF 114-121). Furthermore, as discussed above,
19   Kaseberg has objected to the admissibility of these documents. Kaseberg was the only
20   one who was "5 for 5" in hitting on the same jokes as Defendant. Assuming that these
21   jokes lend themselves to parallel thought, it is clear that parallel thought is merely a factor
22   that a jury must weigh in determining whether or not the defense of independent creation
23   is valid.
24          D.     An Issue Of Material Fact Exists As To Willfulness
25          The parties agree on the standards for willfulness set forth in 17 U.S.C 504(c)(2)
26   and Washington Shoe Co. Plaintiff must show either (1) that the defendant was actually
27   aware of the infringing activity, or (2) that the defendant’s actions were the result of
28
                                                        24
     PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
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 1   “reckless disregard for, or willful blindness to, the copyright holder’s rights.” Washington
 2   Shoe Co. v. A-Z Sporting Goods, Inc., 704 F. 3d 668, 674 (9th Cir. 2012)
 3           Defendants claim that Kaseberg has no evidence establishing that Defendants were
 4   aware of Kaseberg’s jokes prior to O’Brien’s performances. This is not true. Defendants
 5   failed to mention the tweets which Kaseberg sent to Sweeney, after the jokes at issue were
 6   aired, as well as Kaseberg’s discussion with Mike Sweeney prior to the fourth and fifth
 7   joke airing as well as the letter sent prior to Joke#5. (PUF 144, 145, 150, 151, 156, 158,
 8   159).                                                                                             (PUF
 9   151). Defendants were on notice of Kaseberg’s potential infringement claim as early as
10   January 16, 2015. Because of this, summary judgment is improper because there is
11   evidence that Defendants knew about Kaseberg at least after Joke #2.
12           Kaseberg was getting yelled at and was ridiculed, dismissed and treated with scorn
13   when he spoke to Sweeney. (PUF 157).
14
15                                (PUF 161). If a reasonable juror could find that Kaseberg’s
16   material was accessed by Defendants prior to Kaseberg publishing any of his material, a
17   reasonable juror most certainly could also find that the Defendants willfully infringed
18   Kaseberg’s work after learning of the accusations and after Sweeney spoke to Kaseberg
19   and notified his writers. A triable issue of fact exists as to the willful conduct after
20   Defendants were placed on notice of Kaseberg’s allegations.
21   V.      CONCLUSION
22           For the foregoing reasons, Kaseberg respectfully asks that this Court deny
23   Defendants’ Motion for Summary Judgment and/or Summary Adjudication in its entirety.
24
25
     Date: February 24, 2017                       By:____/s/ Jayson M. Lorenzo____________
26                                                     JAYSON M. LORENZO
27
                                                       Attorney for Plaintiff
                                                       ROBERT ALEXANDER KASEBERG
28
                                                        25
     PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
                   AND/OR PARTIAL SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, SUMMARY ADJUDICATION
